ao NN =

uw

qa Hh

 

Case 19-12664-abl Doc 71 Entered 03/23/20 10:23:00 Page 1 of 2

KATHLEEN A. LEAVITT

CHAPTER 13 BANKRUPTCY TRUSTEE
711 South 4* Street, Suite 101

Las Vegas, Nevada 89101

Telephone: (702) 853-0700

Facsimile: (702) 853-0713

E-mail: kall3maik@las13.com

UNITED STATES BANKRUPTCY COURT

 

FOR THE DISTRICT OF NEVADA
In re: ) BK-19-12664-ABL
) Chapter 13
DIVINA AQUINO, )
) Date: March 25, 2020
Debtor. ) Time: 9:30 am.
sry
STIPULATION TO CONTINUE TRUSTEE’S MOTION TO DISMISS AND
DE *S CONFIRMATION ING SET FOR MARCH 2 AT 9:30 A.M.

COMES NOW the Chapter 13 Bankruptcy Trustee, Kathleen A. Leavitt, by and through her
attorney of record, Danielle N. Gueck-Townsend, Esq., and Debtor, Divina Aquino, by and through attomey

of record, Jennifer Isso of Isso and Hughes Law Firm, who hereby STIPULATE AND AGREE as follows:

ii. The hearing on Trustee’s Motion to Dismiss is scheduled for March 25, 2020 at 9:30 a.m..

= The hearing on Debtor’s Chapter 13 Plan confirmation is scheduled for March 25, 2020 at
9:30 a.m..

3 The Partics agree that additional time is warranted and hope to be able to present arguments
in person. As such, Parties Stipulate to continue both matters to April 29, 2020 at 9:30 a.m..

IT IS SO STIPULATED this 23" day of March, 2020.

 
> WwW RN

“4 WwW Ww

wo

10
11
12
13
i4
15
16
1?
18
i9
20
21
22
23
24
25
26
27
28

 

Case 19-12664-abl Doc 71 Entered 03/23/20 10:23:00 Page 2 of 2

OFFICE OF KATHLEEN A. LEAVITT,
CHAPTER 13 BANKRUPTCY TRUSTEE

Isf iclle N.G -To

DANIELLE N. GUECK-TOWNSEND, ESQ.

Nevada Bar No. 12164

711 South 4® Street, Suite 101
Las Vegas, Nevada 89101
Attorncy for the Trustee
Dated: 3/23/2020

ISSO & HUGHES LAW FIRM

aa

JENNIFER ISSO, ESQ.
Nevada Bar No. / Ay S
2470 St. Rose Pkwy., #306F
Henderson, Nevada 89074
Attomey for the Debtor

Dated: 3/23/2020
